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14
                          SOUTHERN DISTRICT OF CALIFORNIA
15
16                                            )
      K.J.P., a minor, and K.P.P., a minor,       Civil No. 15-cv-02692-H-MDD
17                                            )
      individually, by and through their      )
18    mother, LOAN THI MINH NGUYEN,           )
                                              )   Plaintiffs’ Memorandum of Points and
      who also sues individually and as       )   Authorities in Support of Motion In
19                                                Limine to:
      successor in interest to her now        )
20    deceased husband, Lucky Phounsy, and    )
                                              )      1. Exclude    Cumulative   Expert
21    KIMBERLY NANG                           )         Testimony.
      CHANTHAPHANH, individually,             )
22                                            )
                                              )   Date: February 8, 2021
23          Plaintiffs,                       )
                                              )   Time: 10:30 a.m.
24    vs.                                     )
                                              )   Courtroom: 15A
25    COUNTY OF SAN DIEGO, et al.,            )
                                              )
26                                            )
            Defendants.                       )
27                                            )
                                              )
28                                            )


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 1
 2                      INTRODUCTION AND ISSUE PRESENTED
 3         A. Exclusion of cumulative expert testimony.
 4           Defendants have announced at least three expert witnesses to testify as to
 5    Mr. Phounsy’s cause of death, each of them interpreting the same evidence and
 6    offering overlapping opinions on the same issue. Should this cumulative testimony
 7    be excluded under Fed. R. Evid. 403?
 8
 9                                       DISCUSSION
10    A.     The Court should exclude Defendants’ cumulative expert testimony.
11         1. Background.
12           Defendants currently intend to offer at least three experts to testify about Mr.
13    Phounsy’s cause of death: Richard Geller, Steven Campman, and Gary Vilke. See
14    Doc. 132 at 2-3. Because Defendants should not be allowed to offer duplicative
15    testimony on this issue, all except one of these witnesses should be excluded by
16    the Court under Fed. R. Evid. 403.
17           Geller intends to testify that “Mr. Phounsy’s condition on the night of April
18    13, 2015, and the cause of his cardio-pulmonary arrest, was Excited Delirium
19    Syndrome, itself caused by stimulant drug use, both at Cochaella, and at home on
20    the afternoon on April 13, 2015.” Exhibit A, Dr. Richard Geller Report, at 14.
21    Geller believes that the alleged Excited Delirium Syndrome was caused by Mr.
22    Phounsy’s alleged consumption of “bath salts.” As discussed fully in Plaintiffs’
23    motion in limine to exclude Dr. Geller’s testimony, there is no evidence in the
24    record that Mr. Phounsy ingested any “bath salts” at any time before the incident
25    in this case. Because Dr. Geller’s opinion is based on pure conjecture and
26    speculation, he should not be permitted to testify on Mr. Phounsy’s cause of death.
27           Campman is one of the medical examiners who performed an autopsy on
28    Mr. Phounsy. See Exhibit B, Autopsy Report. Campman intends to testify that Mr.


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 1    Phounsy died from “anoxic encephalopathy, due to cardiopulmonary arrest with
 2    resuscitation following physical altercation and restraint, due [sic] stimulant drug-
 3    related psychotic state with cardiac arteriolosclerosis listed as a contributing
 4    condition, and the manner of death as ‘accident.’” Id. at 4. Campman also opines
 5    that “it does not appear that injuries from the altercation with police or the restraint
 6    itself were the cause of his arrest and subsequent death, as he was in a safe position
 7    with and being administered oxygen when he experienced his sudden arrest several
 8    minutes after the altercation; and it also is not likely that the administration of the
 9    midazolam caused his arrest and death, as he was being monitored, administered
10    oxygen, did not have signs of benzodiapene toxicity, and did not have toxic
11    concentrations of midazolam in his blood collected shortly after his sudden arrest.”
12    Id. Finally, Campman intends to offer opinions about Mr. Phounsy’s alleged drug
13    use and his exhibition of symptoms allegedly associated with so-called “Excited
14    Delirium Syndrome.”1
15          Vilke is an emergency department doctor. See Exhibit C, Dr. Gary Vilke
16    Report, at 1. He too intends to testify about Mr. Phounsy’s cause of death. Vilke
17    intends to opine that the police’s use of restraints and the paramedics’
18    administration of midazolam did not cause or contribute to Mr. Phounsy’s death.
19    Id. at 5. He also intends to opine that “the significant hyperkalemia (elevated
20    potassium levels) that Mr. Phounsy developed due to acute renal failure in
21    combination with his underlying cardiac disease, drug use and agitation was the
22    probable cause of his sudden cardiac arrest that ultimately resulted in his death.”
23    Id. at 6. Vilke also claims that the use of Tasers did not contribute to Mr. Phounsy’s
24    death. Id.
25
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27    1
             This speculative, irrelevant, and overly prejudicial testimony should be
28    excluded for all the reasons discussed in Plaintiff’s motions in limine addressing
      those issues.

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 2       2. Discussion.
 3          Fed. R. Evid. 403 states: “The court may exclude relevant evidence if its
 4    probative value is substantially outweighed by a danger of one or more of the
 5    following: unfair prejudice, confusing the issues, misleading the jury, undue delay,
 6    wasting time, or needlessly presenting cumulative evidence.” “Cumulative
 7    evidence replicates other admitted evidence.” United States v. Ives, 609 F.2d 930,
 8    933 (9th Cir. 1979). It is “within the trial court’s discretion to exclude cumulative
 9    evidence.” Lirette v. Popich Bros. Water Transport Inc., 660 F.2d 142, 145 (5th
10    Cir. 1981). See also In re Air Crash Disaster, 86 F.3d 498, 527 (6th Cir. 1996)
11    (affirming exclusion of cumulative expert testimony); United States v. Alisal Water
12    Corp., 431 F.3d 643, 660 (9th Cir. 2005) (same). District courts regularly exclude
13    or limit duplicative, overlapping, or cumulative expert testimony. See Allen v.
14    Hylands Inc., 2015 WL 1270304 at *3-4 (C.D. Cal. August 20, 2015) (excluding
15    expert testimony as cumulative because the experts opined on many of the same
16    topics and relied on the same or very similar evidence for their opinions); Engman
17    v. City of Ontario, 2011 WL 2463178, at *14 (C.D. Cal. June 20, 2011) (“Given
18    the significant overlap in the testimony of [the proposed experts], it appears that
19    allowing both to testify at trial would be cumulative.”); Moniz v. City of Delano,
20    2015 WL 128124 at *7 (E.D. Cal. Jan. 8, 2015) (“[T]he Court agrees that it will
21    not allow cumulative testimony…Thus, Plaintiff will be required to limit the
22    presentation of experts only to that testimony that does not duplicate the testimony
23    given by other experts.”)
24          Here, Geller, Campman, and Vilke intend to offer cumulative opinions about
25    Mr. Phounsy’s cause of death. All intend to testify that Mr. Phounsy did not die
26    from injuries caused by the police or the subsequent intervention by paramedics.
27    All intend to testify that the administration of midazolam did not cause Mr.
28    Phounsy’s death. All intend to testify that Mr. Phounsy died from a combination


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 1    of factors, including a heart attack allegedly caused by an underlying cardiac
 2    condition, drug use, and excited delirium. Indeed, at his deposition, Vilke conceded
 3    that his cause of death of opinion was “basically overlapping” with Campman’s.
 4    See Exhibit D, Excerpts from Deposition of Gary Vilke, at 106. This repetitive
 5    testimony about Mr. Phounsy’s cause of death will unduly delay the trial, waste
 6    the jury’s and Court’s time, and amount to a needless presentation of cumulative
 7    evidence. Accordingly, the Court should order Defendants to select one of these
 8    witnesses to testify as to Mr. Phounsy’s cause of death and exclude the others under
 9    Fed. R. Evid. 403.
10                                     CONCLUSION
11          For all these reasons, the Court should grant Plaintiff’s motion in limine and
12    exclude all cumulative expert testimony mentioned herein.
13
14                                                  Respectfully submitted,
15
16    Dated: January 11, 2021                       s/ Timothy A. Scott
17                                                  s/ Brody A McBride
18                                                  TIMOTHY A. SCOTT
19                                                  BRODY A. MCBRIDE
20                                                  Attorneys for Plaintiffs
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